             Case 1:19-cv-02698-DLF Document
                            UNITED STATES    8 FiledCOURT
                                          DISTRICT  10/11/19 Page 1 of 10
                           FOR THE DISTRICT OF COLUMBIA


CAUSE OF ACTION INSTITUTE,

                 Plaintiff,

                          v.                                    Civ. A. No. 19-2698-DLF

UNITED STATES DEPARTMENT OF
COMMERCE,

                 Defendant.


                                                  ANSWER

        Defendant, United States Department of Commerce (“Defendant” or “DOC”), by and

through undersigned counsel, hereby answers the Complaint of Plaintiff Cause of Action Institute

(“Plaintiff”) as follows. The numbered paragraphs of Defendant’s Answer correspond to the

numbered paragraphs of Plaintiff’s Complaint.

        1.     Paragraph 1 contains Plaintiff’s characterization of this lawsuit and its requests made

pursuant to the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, to which no response is

required.

        2.     Paragraph 2 contains Plaintiff’s characterization of this and other lawsuits, to which

no response is required.

                                       Jurisdiction and Venue 1

        3.     Paragraph 3 contains Plaintiff’s assertions of jurisdiction, which constitute legal

conclusions and to which no response is required.              To the extent a response may be deemed

required, Defendant admits this Court has jurisdiction over proper actions brought pursuant to the

FOIA.




1
 For ease of reference only, the Answer refers the Complaint’s headings, without admitting them. Were they
deemed to require a response, Defendant would deny them.
       4. Case 1:19-cv-02698-DLF
            Paragraph              Document
                      4 contains Plaintiff’s   8 Filed of
                                             assertions 10/11/19  Page 2constitute
                                                           venue, which  of 10     legal

conclusions and to which no response is required. To the extent a response may be deemed

required, Defendant admits venue is proper in this District for a proper FOIA action.

                                              Parties

       5.    Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 4.

       6.    Defendant admits that DOC is an agency of the United States government

headquartered in Washington, DC. The remainder of the allegations in Paragraph 6 consist of

legal conclusions, to which no response is required.

                                              Facts

             I.         Section 232 and the Preparation of Secretarial Reports

       7.    Paragraph 7 consists of Plaintiff’s characterization of the United States Constitution

and Section 232 of the Trade Expansion Act of 1962, 19 U.S.C. § 1862 (“Section 232”), to which

no response is required.

       8.    Paragraph 8 consists of Plaintiff’s characterization of Section 232, to which no

response is required.

       9.    Paragraph 9 consists of Plaintiff’s characterization of Section 232, to which no

response is required.

       10.   Paragraph 10 consists of Plaintiff’s characterization of Section 232, to which no

response is required.

             II.        The Section 232 Process in the Current Administration

       11.   The allegations in Paragraph 11 are immaterial and impertinent to this lawsuit.

       12.   The allegations in Paragraph 12 are immaterial and impertinent to this lawsuit.

       13.   The allegations in Paragraph 13 are immaterial and impertinent to this lawsuit. To

the extent a response may be deemed required, Defendant denies the allegations in this paragraph.
       14.Case
            The1:19-cv-02698-DLF      Document
                allegations in Paragraph          8 Filed and
                                         14 are immaterial 10/11/19   Pageto3this
                                                               impertinent    of 10
                                                                                  lawsuit. To

the extent a response may be deemed required, Defendant denies the allegations in this paragraph.

       15.   The allegations in Paragraph 15 consist of Plaintiff’s characterization of an unrelated

lawsuit, to which no response is required. To the extent a response may be deemed required,

Defendant admits that Plaintiff filed two FOIA requests for another report issued pursuant to

Section 232, and those requests are the subject of an unrelated lawsuit by Plaintiff. Defendant

denies the remainder of the allegations in this paragraph.

       16.   The allegations in Paragraph 16 consist of Plaintiff’s characterization of an unrelated

lawsuit, to which no response is required. To the extent a response may be deemed required,

Defendant admits that DOC sent to Plaintiff the correspondence identified in Paragraph, and

respectfully refers the Court to that correspondence for complete and accurate statements of its

contents. Defendant denies the remainder of the allegations in this paragraph.

       17.   The allegations in Paragraph 17 consist of Plaintiff’s characterization of an unrelated

lawsuit, to which no response is required. To the extent a response may be deemed required,

Defendant admits that DOC sent to Plaintiff the correspondence identified in Paragraph 16, and

respectfully refers the Court to that correspondence for complete and accurate statements of its

contents.

       18.   The allegations in Paragraph 18 consist of Plaintiff’s characterization of an unrelated

lawsuit, to which no response is required. To the extent a response may be deemed required,

Defendant admits that the lawsuit cited by Plaintiff is pending.

       19.    Defendant admits the allegations in Paragraph 19.

       20.   To the extent that Paragraph 20 consists of Plaintiff’s characterization of this lawsuit,

no response is required. Defendant avers that DOC has withheld the report at issue in accordance

with Section 232.
       21.Case
            The1:19-cv-02698-DLF       Document
                allegations in Paragraph 21 consist8of Filed 10/11/19
                                                       Plaintiff’s        Page 4 of
                                                                   characterization of10
                                                                                      this lawsuit,

to which no response is required. To the extent a response may be deemed required, Defendant

admits that Plaintiff has filed FOIA requests regarding the report at issue.

             III.    FOIA Request DOC-IOS-2019-002011

       22.     Defendant admits that Plaintiff submitted a FOIA request via correspondence dated

April 15, 2019, and respectfully refers the Court to that correspondence for complete and accurate

statements of its contents.

       23.     Defendant admits that Plaintiff sought a waiver of fees in its FOIA request dated

April 15, 2019, and respectfully refers the Court to that correspondence for complete and accurate

statements of its contents.

       24.     Defendant admits that DOC sent an email to Plaintiff dated May 7, 2019, and

respectfully refers the Court to that correspondence for complete and accurate statements of its

content.

       25.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph.

             IV.     FOIA Request BIS 19-088

       26.   Defendant admits that Plaintiff submitted a FOIA request via correspondence dated

April 15, 2019, and respectfully refers the Court to that correspondence for complete and accurate

statements of its contents.

       27.   Defendant admits that Plaintiff sought a waiver of fees in its FOIA request dated

April 15, 2019, and respectfully refers the Court to that correspondence for complete and accurate

statements of its contents.

       28.   Defendant admits that it sent correspondence to Plaintiff dated May 7, 2019, and

respectfully refers the Court to that correspondence for complete and accurate statements of its

contents.
        29.Case 1:19-cv-02698-DLF
             Defendant                Document
                       admits that Plaintiff     8 Filed with
                                             communicated 10/11/19 Page 5 times
                                                              DOC multiple of 10 regarding

the Section 232 report at issue and that, on July 12, 2019 the President issued a Presidential

Memorandum entitled Memorandum on the Effect of Uranium Imports on the National Security

and Establishment of the United States Nuclear Fuel Working Group.

        30.    Defendant admits that it sent Plaintiff an email dated July 15, 2019, and respectfully

refers the Court to that email for complete and accurate statements of its contents.

        31.    To the extent Paragraph 31 consists of Plaintiff’s characterization of this lawsuit, no

response is required. Defendant admits that it sent Plaintiff an email dated July 15, 2019, and

respectfully refers the Court to that email for complete and accurate statements of its contents.

        32.    Paragraph 32 consists of Plaintiff’s characterization of this lawsuit, to which no

response is required.

        33.    Paragraph 33 consists of Plaintiff’s characterization of this lawsuit, to which no

response is required. To the extent a response may be deemed required, Defendant avers that DOC

has withheld the report at issue in accordance with Section 232.

        34.    Paragraph 34 consists of Plaintiff’s characterization of this lawsuit, to which no

response is required. To the extent a response may be deemed required, Defendant avers that DOC

has withheld the report at issue in accordance with Section 232.

               V.       Commerce’s Withholding of the Section 232 Report 2

        35.    Paragraph 35 consists of Plaintiff’s characterization of this lawsuit, to which no

response is required. To the extent a response may be deemed required, Defendant denies the

allegations in this paragraph.




2
 Defendant uses this heading in lieu of that appearing in Plaintiff’s Complaint, “Commerce’s Reliance on
‘Temporary Privileges’ and Presidential Directives to Withhold Section 232 Reports,” which is a legal conclusion.
Defendant avers that DOC has withheld the report at issue in accordance with Section 232.
        36.Case 1:19-cv-02698-DLF
             Paragraph                Documentcharacterization
                       36 consists of Plaintiff’s 8 Filed 10/11/19  Page
                                                               of this     6 of to
                                                                       lawsuit, 10 which no

response is required. To the extent a response may be deemed required, Defendant denies the

allegations in this paragraph.

        37.    To the extent that Paragraph 37 consists of legal conclusions, no response is required.

Defendant admits that it sent Plaintiff an email dated July 15, 2019, and respectfully refers the

Court to that email for complete and accurate statements of its contents. Defendant avers that

DOC has withheld the report at issue in accordance with Section 232.

        38.    Paragraph 38 consists of legal conclusions, to which no response is required. To the

extent a response may be deemed required, Defendant denies the allegations in this paragraph.

        39.    Paragraph 39 consists of legal conclusions, to which no response is required. To the

extent a response may be deemed required, Defendant denies the allegations in this paragraph.

                                                     COUNT I

        40.    Defendant repeats and incorporates by reference its responses to the allegations in

Paragraphs 1 through 39.

        41.    The allegations in Paragraph 41 consist of Plaintiff’s characterization of the FOIA,

to which no response is required.

        42.    Defendant admits there were more than 20 business days between DOC’s receipt of

the subject FOIA request and the date the Complaint was filed.

        43.    Defendant admits that the DOC Secretary’s Office has not invoked an extension.

        44.    Defendant admits that no documents were produced as of the date the Complaint was

filed. The remaining allegations in Paragraph 44 consist of legal conclusions, to which no response

is required.

        45.    The allegations in Paragraph 45 consist of legal conclusions, to which no response is

required.

        46.    The allegations in Paragraph 46 consist of legal conclusions, to which no response is

required.
       47.Case
            The1:19-cv-02698-DLF       Document
                allegations in Paragraph 47 consist8of Filed  10/11/19 Page
                                                       legal conclusions,      7 ofno10response is
                                                                          to which

required.
            Case 1:19-cv-02698-DLF Document
                                       COUNT8 Filed
                                               II 10/11/19 Page 8 of 10

       48.     Defendant repeats and incorporates by reference its responses to the allegations in

Paragraphs 1 through 39.

       49.     The allegations in Paragraph 49 consist of Plaintiff’s characterization of this lawsuit

and legal conclusions, to which no response is required. To the extent a response may be deemed

required, Defendant denies the allegations in this paragraph.

       50.     The allegations in Paragraph 50 consist of legal conclusions, to which no response is

required. To the extent a response may be deemed require, Defendant denies the allegations in

this paragraph. Defendant avers that DOC has withheld the report at issue in accordance with

Section 232.

       51.     The allegations in Paragraph 51 consist of legal conclusions, to which no response is

required.

       52.     The allegations in Paragraph 52 consist of legal conclusions, to which no response is

required. To the extent a response may be deemed require, Defendant denies the allegations in

this paragraph. Defendant avers that DOC has withheld the report at issue in accordance with

Section 232.

       53.     The allegations in Paragraph 53 consist of legal conclusions, to which no response is

required. To the extent a response may be deemed require, Defendant denies the allegations in

this paragraph. Defendant avers that DOC has withheld the report at issue in accordance with

Section 232.

       54.     The allegations in Paragraph 54 consist of legal conclusions, to which no response is

required.



                                          REQUESTED RELIEF
            Case
          The    1:19-cv-02698-DLF
              remaining                 Document
                        paragraphs set forth         8 prayer
                                             Plaintiff’s Filed 10/11/19      Page
                                                                for relief, to    9 of
                                                                               which no10
                                                                                        response is

required. To the extent a response may be deemed required, Defendant denies that Plaintiff is

entitled to the relief requested or to any relief whatsoever.

          Defendant hereby denies all allegations in Plaintiff’s Complaint not expressly admitted or

qualified herein.

                                                DEFENSES

          Defendant reserves the right to amend, alter and supplement the defenses contained in this

Answer as the facts and circumstances giving rise to this Complaint become known to Defendant

through the course of this litigation.

                                            FIRST DEFENSE

          Plaintiff has failed to state a claim upon which relief may be granted under FOIA.

                                          SECOND DEFENSE

          The information that Defendant may withhold in response to Plaintiff’s FOIA requests is

permitted under the exemptions to FOIA. See 5 U.S.C. § 552(b).

                                            THIRD DEFENSE

          Plaintiff is not entitled to attorneys’ fees or costs.

          Wherefore, Defendant prays that this Court dismiss the Complaint with prejudice, at

Plaintiff’s cost, and that the Court grant such other and further relief as the Court deems just and

proper.
        Case 1:19-cv-02698-DLF
Dated: October 11, 2019        Document 8 Filed
                                   Respectfully   10/11/19 Page 10 of 10
                                                submitted,

                                    JESSIE K. LIU, D.C. Bar # 472845
                                    United States Attorney for the District of Columbia

                                    DANIEL F. VAN HORN, D.C. Bar # 924092
                                    Chief, Civil Division

                                 By: /s/ John Moustakas
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